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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF NORTH CAROLINA
                                                     RALEIGH DIVISION


              In Re:                                           §
                                                               §
              SUNCOAST EQUIPMENT, LLC                          §     Case No. 16-02247-5-DMW
                                                               §
                                  Debtor                       §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Richard D. Sparkman, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 817,400.00                            Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 100,000.00            Claims Discharged
                                                                      Without Payment: 832,367.83

              Total Expenses of Administration: 70,829.32


                      3) Total gross receipts of $ 170,829.32 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 170,829.32 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                   CLAIMS           CLAIMS                 CLAIMS              CLAIMS
                                                 SCHEDULED         ASSERTED               ALLOWED               PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA       $ 1,466,850.27        $ 1,466,850.27        $ 100,000.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA            75,634.46             75,634.46           70,829.32

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                   NA                   NA                  NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA            71,244.67             71,244.67                0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                    NA          859,096.76            761,123.16                 0.00

TOTAL DISBURSEMENTS                                      $ NA       $ 2,472,826.16        $ 2,374,852.56        $ 170,829.32


                  4) This case was originally filed under chapter 7 on 04/28/2016 . The case was pending
          for 29 months.

                 5) A copy of the final bank statement of the estate, reflecting a zero balance has been
          submitted to the United States Bankruptcy Administrator.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 09/17/2018                         By:/s/Richard D. Sparkman
                                                                                Trustee




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                  $ AMOUNT
                                                                          TRAN. CODE1                               RECEIVED

Surplus Proceeds-Sale to Dealer of Paragon Bank                              1129-000                                    13,313.59

Surplus proceeds-Sale to Dealer of Paragon Bank                              1129-000                                      1,147.59

    PNC Bank Account #9396                                                   1129-000                                         100.00

    2015 GMC Sierra #121760                                                  1129-000                                      1,435.64

    5/27/16 Public Auction Proceeds                                          1129-000                                   131,332.50

    Caterpillar Finacial Services Corp Settlement                            1141-000                                      5,000.00

    2006 Ford F250 Vin #D05667                                               1229-000                                         500.00

    Element Financial Settlement Proceeds                                    1249-000                                    15,000.00

Komatsu Financial Limited Partnership Settlement                             1249-000                                      3,000.00

TOTAL GROSS RECEIPTS                                                                                                   $ 170,829.32
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM          $ AMOUNT
                                                                                                   TRAN. CODE           PAID

NA                                                                                                      NA                      NA




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                  PAYEE                                         DESCRIPTION                        UNIFORM            $ AMOUNT
                                                                                                  TRAN. CODE             PAID

TOTAL FUNDS PAID TO DEBTOR &                                                                                                   $ 0.00
THIRD PARTIES


            EXHIBIT 3 – SECURED CLAIMS

                                                 UNIFORM         CLAIMS
                                                                                 CLAIMS               CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.       SCHEDULED                                               CLAIMS PAID
                                                                                ASSERTED             ALLOWED
                                                  CODE       (from Form 6D)

            PARAGON COMMERCIAL
            BANK                                 4210-000                 NA        100,000.00          100,000.00        100,000.00


            PARAGON COMMERCIAL
000004A     BANK                                 4210-000                 NA        200,000.00          200,000.00               0.00


000007      SANY CAPITAL USA, INC.               4210-000                 NA        257,006.70          257,006.70               0.00


000005      TODD HAMILTON                        4210-000                 NA          30,000.00           30,000.00              0.00


            ELEMENT FINANCIAL
000008      CORP.                                4220-000                 NA        586,143.57          586,143.57               0.00


            ELEMENT FINANCIAL
000009      CORP.                                4220-000                 NA        293,700.00          293,700.00               0.00

TOTAL SECURED CLAIMS                                                    $ NA     $ 1,466,850.27      $ 1,466,850.27      $ 100,000.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                              CLAIMS            CLAIMS               CLAIMS
             PAYEE                        TRAN.                                                                       CLAIMS PAID
                                                            SCHEDULED          ASSERTED             ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:RICHARD D.
SPARKMAN                                  2100-000                      NA          22,591.47            22,591.47         20,713.75




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                                          UNIFORM
                                                        CLAIMS          CLAIMS          CLAIMS
              PAYEE                        TRAN.                                                      CLAIMS PAID
                                                      SCHEDULED        ASSERTED        ALLOWED
                                           CODE

TRUSTEE
COMPENSATION:RICHARD D.
SPARKMAN                                   2200-000               NA         437.54         437.54             401.17


UNION BANK                                 2600-000               NA         359.79         359.79             359.79


BANK OF AMERICA                            2700-000               NA         365.00         365.00             365.00


CLERK US BANKRUPTCY
COURT                                      2700-000               NA         526.00         526.00             496.91


BANK OF AMERICA                            2990-000               NA         365.00         365.00                0.00


ACCOUNTANT FOR TRUSTEE
FEES (OTHER
FIRM):CLIFTONLARSONALLEN
LLP                                        3410-000               NA       13,565.00      13,565.00        12,437.53


ACCOUNTANT FOR TRUSTEE
FEES (OTHER
FIRM):CLIFTONLARSONALLEN
LLP                                        3420-000               NA         231.97         231.97             212.69


AUCTIONEER/LIQUIDATOR FOR
TRUSTEE FEES:COUNTRY BOYS
AUCTION & REALTY CO                        3610-000               NA       11,453.30      11,453.30        11,453.30


AUCTIONEER/LIQUIDATOR FOR
TRUSTEE FEES:COUNTRY BOYS
AUCTION & REALTY CO                        3620-000               NA        9,494.64       9,494.64           9,494.64


JOHN T. BENJAMIN, JR.                      3991-000               NA       16,244.75      16,244.75        14,894.54




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                                         UNIFORM
                                                              CLAIMS            CLAIMS             CLAIMS
             PAYEE                        TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED          ASSERTED           ALLOWED
                                          CODE

TOTAL CHAPTER 7 ADMIN. FEES                                          $ NA         $ 75,634.46       $ 75,634.46       $ 70,829.32
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                              CLAIMS            CLAIMS             CLAIMS
             PAYEE                        TRAN.                                                                    CLAIMS PAID
                                                            SCHEDULED          ASSERTED           ALLOWED
                                          CODE

NA: NA                                       NA                         NA                 NA               NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA                $ NA             $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS            CLAIMS
                                                 UNIFORM
                                                              SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                               (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                   6E)             Claim)

            NC DEPARTMENT OF
000013A     REVENUE                              5200-000                NA           34,170.43       34,170.43              0.00


            WAKE COUNTY REVENUE
000010      DEPARTMENT                           5800-000                NA           37,074.24       37,074.24              0.00

TOTAL PRIORITY UNSECURED                                                $ NA        $ 71,244.67      $ 71,244.67           $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                              CLAIMS           CLAIMS
                                                 UNIFORM
                                                            SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                          CLAIMS PAID
                                                             (from Form     (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)            Claim)

000002      ALLY BANK                            7100-000             NA             5,590.94        5,590.94             0.00


000003      ALLY BANK                            7100-000             NA           11,737.99        11,737.99             0.00


            ANGELA MICHELLE
000011      HAMILTON                             7100-000             NA          474,036.92      474,036.92              0.00


            CATERPILLAR
            FINANCIAL SERVICES
000001A     CORP                                 7100-000             NA          188,600.00        90,626.40             0.00


            PARAGON COMMERCIAL
000004B     BANK                                 7100-000             NA          160,691.48      160,691.48              0.00


000006      TODD HAMILTON                        7100-000             NA                 0.00             0.00            0.00


000012      ALLY BANK                            7200-000             NA             9,148.54        9,148.54             0.00


000015      WELLS FARGO BANK N.A. 7200-000                            NA             5,915.89        5,915.89             0.00


            NC DEPARTMENT OF
000013B     REVENUE                              7400-000             NA             3,375.00        3,375.00             0.00

TOTAL GENERAL UNSECURED                                              $ NA       $ 859,096.76     $ 761,123.16            $ 0.00
CLAIMS




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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES                                                                                              Exhibit 8
Case No:             16-02247-5-DMW       Judge: David M. Warren                                                          Trustee Name:                       Richard D. Sparkman
Case Name:           SUNCOAST EQUIPMENT, LLC                                                                              Date Filed (f) or Converted (c):    04/28/16 (f)
                                                                                                                          341(a) Meeting Date:                06/06/16
For Period Ending: 09/17/18
                                                                                                                          Claims Bar Date:                    08/19/16

                                1                                       2                     3                4           5                         6                          7                       8
                                                                                       Est Net Value
                                                                                                            Property                             Asset Fully
                                                                                     (Value Determined
                                                                    Petition/                               Formally   Sale/Funds            Administered (FA)/
                                                                                      by Trustee, Less
                         Asset Description                         Unscheduled                             Abandoned   Received by        Gross Value of Remaining             Lien                Exempt
                                                                                     Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                Values                                OA=554(a)    the Estate                 Assets                     Amount               Amount
                                                                                      and Other Costs)
 1. Surplus Proceeds-Sale to Dealer of Paragon Bank                    13,313.59               13,313.59                   13,313.59                  FA                                 0.00                   0.00
     Liened vehicle of Paragon Bank- 2012 GMC Last 6 of
     Vin#179469
 2. Surplus proceeds-Sale to Dealer of Paragon Bank                     1,147.59                1,147.59                       1,147.59               FA                                 0.00                   0.00
     Liened vehicle of Paragon Bank-2014 Chev. Last 6 of Vin
     #110539
 3. PNC Bank Account #9396                                                  100.00                100.00                        100.00                FA                                 0.00                   0.00
 4. Paragon Checking Account                                                  0.00                  0.00                           0.00               FA                                 0.00                   0.00
 5. Cash on Hand                                                       Unknown                      0.00                           0.00               FA                                 0.00                   0.00
 6. 2015 GMC Sierra #552499                                            Unknown                      0.00                           0.00               FA                            57,902.16                   0.00
     Lien Holder: Ally Financial
     Stay Lifted (DE 72)
 7. 2015 GMC Sierra- #167734                                           Unknown                      0.00                           0.00               FA                            42,731.61                   0.00
     Lien Holder: Ally Fianancial
     Stay Lifted (DE 52)
 8. 2005 Terex TA27 Articulated Dump Truck                             35,100.00                    0.00                           0.00               FA                                 0.00                   0.00
     Serial Number A8681060
     Lien Holder: Element
     Stay Lifted DE 77
 9. 2005 Terex TA30G7 Articulated Dump Truck                           41,400.00                    0.00                           0.00               FA                                 0.00                   0.00
     Serial No.:A8591231
     Lien Holder: Element
     Stay Lifted DE 77
 10. 2006 Terex TA30G7 Articulated Dump Truck                          45,700.00                    0.00                           0.00               FA                                 0.00                   0.00
     Serial No. A8591422
     Lien Holder: Element
     Stay Lifted DE 77
 11. 2014 GMC Sierra #378830                                           Unknown                      0.00                           0.00               FA                                 0.00                   0.00




LFORM1EX                                                                                                                                                                                                Ver: 20.00j
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                          ASSET CASES                                                                                          Exhibit 8
Case No:             16-02247-5-DMW        Judge: David M. Warren                                                        Trustee Name:                       Richard D. Sparkman
Case Name:           SUNCOAST EQUIPMENT, LLC                                                                             Date Filed (f) or Converted (c):    04/28/16 (f)
                                                                                                                         341(a) Meeting Date:                06/06/16
                                                                                                                         Claims Bar Date:                    08/19/16

                                1                                        2                   3                4           5                         6                          7                     8
                                                                                      Est Net Value
                                                                                                           Property                             Asset Fully
                                                                                    (Value Determined
                                                                     Petition/                             Formally   Sale/Funds            Administered (FA)/
                                                                                     by Trustee, Less
                         Asset Description                          Unscheduled                           Abandoned   Received by        Gross Value of Remaining             Lien              Exempt
                                                                                    Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                 Values                              OA=554(a)    the Estate                 Assets                     Amount             Amount
                                                                                     and Other Costs)
     Lien Holder: Wells Fargo
     Repossessed & sold pre-petition.
 12. 2015 GMC Sierra #121760                                            Unknown                1,435.64                       1,435.64               FA                               0.00                   0.00
     Lien Holder: Ally Financial
     Repossessed & sold pre-petition
 13. 2015 GMC Sierra #165559                                            Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Lien Holder: Ally Financial
     Repossessed & sold pre-petition
 14. 2014 GMC Sierra #317427                                            Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Lien Holder: Ally Financial
     Repossessed & sold pre-petition
 15. 2015 GMC Sierra #152954                                            Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Lien Holder: Ally Financial
     Repossessed & sold pre-petition
 16. 2014 GMC Sierra #262247                                            Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Lien Holder: Ally Financial
     Repossessed & sold pre-petition
 17. 2014 GMC Sierra #192946                                            Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Lien Holder: Wells Fargo
     Repossessed & sold pre-petition
 18. 2007 PJTM Trailer #097304                                          Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Sold pre-petition
 19. 2004 Utility Trailer #001394                                       Unknown                    0.00                           0.00               FA                               0.00                   0.00
     Sold pre-petition
 20. D8T Caterpillar Track Type Tractor                                188,600.00                  0.00                           0.00               FA                        257,126.40                    0.00
     Serial No. KPZ02961
     In possession of lien holder
     Stay lifted in favor of Cat Financial DE 60




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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                            ASSET CASES                                                                                          Exhibit 8
Case No:             16-02247-5-DMW          Judge: David M. Warren                                                        Trustee Name:                       Richard D. Sparkman
Case Name:           SUNCOAST EQUIPMENT, LLC                                                                               Date Filed (f) or Converted (c):    04/28/16 (f)
                                                                                                                           341(a) Meeting Date:                06/06/16
                                                                                                                           Claims Bar Date:                    08/19/16

                                1                                          2                   3                4           5                         6                          7                     8
                                                                                        Est Net Value
                                                                                                             Property                             Asset Fully
                                                                                      (Value Determined
                                                                       Petition/                             Formally   Sale/Funds            Administered (FA)/
                                                                                       by Trustee, Less
                         Asset Description                            Unscheduled                           Abandoned   Received by        Gross Value of Remaining             Lien              Exempt
                                                                                      Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                   Values                              OA=554(a)    the Estate                 Assets                     Amount             Amount
                                                                                       and Other Costs)
 21. 2004 Caterpillar IT38G Wheel Loader                                  Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Serial No. CAT0030CKCAP00313
     Sold pre-petition
 22. 2014 SANY SY335 Hydraulic Escavator                                 411,000.00                  0.00                         0.00                 FA                        834,279.63                    0.00
     Serial No. 13SY033A35958
     Element lease - Stay Lifted DE 77
 23. 2007 John Deere XLT Crawler Tractor                                  48,800.00                  0.00                         0.00                 FA                               0.00                   0.00
     Serial No. T0700JX141202
     Element Stay Lifted DE 77
 24. New or used Komatsu Equipment                                        Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Repossessed & sold pre-petition.
 25. Komatsu D51PXI-22 Crawler Dozer                                      Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Serial No. B13877
     Repossessed & sold pre-petition.
 26. Komatsu D51PXI-22 Crawler Dozer                                      Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Serial No. B13831
     Repossessed & sold pre-petition.
 27. SANY Excavator..0178                                                 Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Element Stay Lifted DE 77
 28. Ingersoll RAND SD 100F                                               Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Serial No. 165360
     Sold at auction - included in Item 36
 29. 2006 John Deere 700JXLT Crawler Tractor                              46,800.00                  0.00                         0.00                 FA                               0.00                   0.00
     Serial No. T0700JX130520
     Sold at auction - included in Item 36
 30. 2011 Load Trail 20" Trailer                                          Unknown                    0.00                         0.00                 FA                               0.00                   0.00
     Sold at auction - Included in Item 36
 31. 2- 2013 Trimble SPS985 Kit Dual Smart Antenna                        Unknown                    0.00                         0.00                 FA                               0.00                   0.00




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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                            ASSET CASES                                                                                          Exhibit 8
Case No:             16-02247-5-DMW          Judge: David M. Warren                                                        Trustee Name:                       Richard D. Sparkman
Case Name:           SUNCOAST EQUIPMENT, LLC                                                                               Date Filed (f) or Converted (c):    04/28/16 (f)
                                                                                                                           341(a) Meeting Date:                06/06/16
                                                                                                                           Claims Bar Date:                    08/19/16

                                 1                                         2                   3                4           5                         6                          7                     8
                                                                                        Est Net Value
                                                                                                             Property                             Asset Fully
                                                                                      (Value Determined
                                                                       Petition/                             Formally   Sale/Funds            Administered (FA)/
                                                                                       by Trustee, Less
                         Asset Description                            Unscheduled                           Abandoned   Received by        Gross Value of Remaining             Lien              Exempt
                                                                                      Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                   Values                              OA=554(a)    the Estate                 Assets                     Amount             Amount
                                                                                       and Other Costs)
     Serial No. 5250F20
 32. Internet Domain-Sunequip.us                                          Unknown                    0.00                           0.00               FA                               0.00                   0.00
 33. Liberty Mutual Liability & Prop Damage Insurance                     Unknown                    0.00                           0.00               FA                               0.00                   0.00
     $50K coverage
 34. Theft of Property                                                    Unknown                    0.00                           0.00               FA                               0.00                   0.00
     $40,915.00 requested
 35. 2006 Ford F250 Vin #D05667 (u)                                            0.00                500.00                        500.00                FA                               0.00                   0.00
     Sold to Ciechoski for $500.00 on 3/29/16
 36. 5/27/16 Public Auction Proceeds                                           0.00            131,332.50                  131,332.50                  FA                               0.00                   0.00
     Includes Assets #28,29,30
 37. 2006 TN encl. Trailer...0673 (u)                                          0.00                  0.00                           0.00               FA                               0.00                   0.00
     Sold at auction - Included in Item 36
 38. Ingersol Rand SD116D XTF 84" Smooth Drum (u)                              0.00                  0.00                           0.00               FA                               0.00                   0.00
     Serial No. 194966
     Sold at Auction -Included in Item 36
 39. 2013 SANY SY335C 3103 (u)                                                 0.00                  0.00                           0.00               FA                               0.00                   0.00
     Serial No. ...A35638
     Included in auction proceeds Item 36 (Credit Bid by
     SANY Corp)
 40. SANY 2013 SY215CLC (u)                                                    0.00                  0.00                           0.00               FA                               0.00                   0.00
     Serial No....DM8618
     Included in auction proceeds Item 36 (Credit Bid by
     SANY Corp)
 41. Caterpillar Finacial Services Corp Settlement                             0.00              5,000.00                       5,000.00               FA                               0.00                   0.00
     Settlement proceeds per Order dated 3/06/17 (DE 128)
 42. Element Financial Settlement Proceeds (u)                                 0.00             15,000.00                   15,000.00                  FA                               0.00                   0.00
     Settlement per Court Order dated 6/01/17 (DE 132)
     AP #17-00002-5-DMW




LFORM1EX                                                                                                                                                                                               Ver: 20.00j
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                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                              ASSET CASES                                                                                                           Exhibit 8
Case No:             16-02247-5-DMW         Judge: David M. Warren                                                                            Trustee Name:                       Richard D. Sparkman
Case Name:           SUNCOAST EQUIPMENT, LLC                                                                                                  Date Filed (f) or Converted (c):    04/28/16 (f)
                                                                                                                                              341(a) Meeting Date:                06/06/16
                                                                                                                                              Claims Bar Date:                    08/19/16

                                1                                             2                     3                      4                   5                           6                        7                     8
                                                                                             Est Net Value
                                                                                                                      Property                                          Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds               Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by           Gross Value of Remaining          Lien              Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                    Assets                  Amount             Amount
                                                                                            and Other Costs)
 43. Komatsu Financial Limited Partnership Settlement                             0.00                 3,000.00                                    3,000.00                 FA                             0.00                   0.00
     AP # 17-00002-5-DMW

                                                                                                                                                              Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                       $831,961.18               $170,829.32                               $170,829.32                              $0.00      $1,192,039.80                $0.00
                                                                                                                                                          (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  Initial Projected Date of Final Report (TFR): 12/31/17           Current Projected Date of Final Report (TFR): 06/30/18


           /s/     Richard D. Sparkman
  __________________________________________ Date: 09/17/18
           RICHARD D. SPARKMAN




LFORM1EX                                                                                                                                                                                                                  Ver: 20.00j
       USBA Form 101-7-TDR (10/1/2010) (Page: 12)
                                    Case 16-02247-5-DMW                    Doc 159 Filed 09/17/18 Entered 09/17/18 11:49:04                                  Page 13 of
                                                                                            16 2
                                                                                          FORM                                                                                                  Page:     1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:            16-02247-5-DMW                                                                                        Trustee Name:                      Richard D. Sparkman
  Case Name:          SUNCOAST EQUIPMENT, LLC                                                                               Bank Name:                         UNION BANK
                                                                                                                            Account Number / CD #:             *******0217 TRUSTEE CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 09/17/18                                                                                               Blanket Bond (per case limit):     $ 2,961,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                 4                                           5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                              0.00
          05/20/16       1        Hendrick Buick-GMC-Cadillac                    Surplus proceeds -sale to Dealer                 1129-000               13,313.59                                      13,313.59
                                  115 Team Hendrick Way
                                  Cary, NC 27511
          05/20/16       2        Hendrick Buick GMC Cadillac                    Surplus proceeds-sale to dealer                  1129-000                   1,147.59                                   14,461.18
                                  115 Team Hendrick Way
                                  Cary, NC 27511
          05/31/16                Clerk U. S. Bankruptcy Court                   Cost Of Administration                           2700-000                                           176.00             14,285.18
                                  P. O. Box 1441                                 Sell Free & Clear of Liens Fee
                                  Raleigh, NC 27602-1441
          06/03/16     001001     Bank of America                                Court Costs                                      2700-000                                           335.00             13,950.18
                                  P.O. Box 15019                                 Acct # xxx3022
                                  Wilmington, DE 19886-5019                      Filing Fee
          06/07/16       3        PNC Bank, NA                                   Close out of account#9396                        1129-000                    100.00                                    14,050.18
                                  4100 W. 150th Street
                                  Cleveland, Ohio 44135
          06/14/16       35       Janvier Law Firm                               2006 Ford F250 Sales Proceeds                    1229-000                    500.00                                    14,550.18
                                  1101 Haynes St., Ste. 102
                                  Raleigh, NC 27604
          06/27/16                UNION BANK                                     BANK SERVICE FEE                                 2600-000                                            15.00             14,535.18
          07/11/16       36       Country Boys Auction & Realty                  5/27/16 Auction Proceeds                         1129-000              131,332.50                                  145,867.68
                                  P.O. Box 1903
                                  Washington, NC 27889-1903
          07/11/16     001002     Bank of America                                Cost Of Administration                           2700-000                                            30.00         145,837.68
                                  P.O. Box 15019                                 Acct # xxx3022
                                  Wilmington, DE 19886-5019                      Amendment Fee
          07/18/16     001003     Country Boys Auction & Realty, Inc.            Auctioneer Commissions & Expenses                                                              20,947.94           124,889.74
                                  P.O. Box 1903                                  Per Order dated 7/14/16
                                  Washington, NC 27889                           Commissions: $11,563.30
                                                                                 Extraordinary Exp.: $9,494.64

                                                                                                                            Page Subtotals              146,393.68                  21,503.94
                                                                                                                                                                                                        Ver: 20.00j
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                                    Case 16-02247-5-DMW                     Doc 159 Filed 09/17/18 Entered 09/17/18 11:49:04                                         Page 14 of
                                                                                             16 2
                                                                                           FORM                                                                                                       Page:     2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:            16-02247-5-DMW                                                                                                Trustee Name:                      Richard D. Sparkman
  Case Name:          SUNCOAST EQUIPMENT, LLC                                                                                       Bank Name:                         UNION BANK
                                                                                                                                    Account Number / CD #:             *******0217 TRUSTEE CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 09/17/18                                                                                                       Blanket Bond (per case limit):     $ 2,961,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                               3                                                  4                                                  5                       6                 7
    Transaction       Check or                                                                                                             Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
                                                                                          Fees                   11,453.30                3610-000
                                                                                          Expenses               9,494.64                 3620-000
          07/25/16                UNION BANK                                      BANK SERVICE FEE                                        2600-000                                           20.60        124,869.14
          08/01/16       12       Ally                                            Surplus from sale of repo vehicle                       1129-000                   1,435.64                             126,304.78
                                  P.O. Box 380902
                                  Bloomington, MN 55438
          08/25/16                UNION BANK                                      BANK SERVICE FEE                                        2600-000                                          137.09        126,167.69
          09/26/16                UNION BANK                                      BANK SERVICE FEE                                        2600-000                                          187.10        125,980.59
          11/08/16     001004     Paragon Commercial Bank                         Partial Payment to Secured Creditor                     4210-000                                      100,000.00            25,980.59
                                  3535 Glenwood Ave                               Per Order dated 11/04/16 (DE 112)
                                  Raleigh, NC 27612                               Per Court Order dated 11/04/16 (DE112)
          05/19/17       41       John T. Benjamin, Jr.                           Caterpillar Setlmt per 3/6/17 Order                     1141-000                   5,000.00                                 30,980.59
                                  1115 Hillsborough St.
                                  Raleigh, NC 27603
          06/19/17       42       John T. Benjamin, Jr. P.A.                      Settlement per 6/01/17 Order-DE132                      1249-000               15,000.00                                    45,980.59
                                  1115 Hillsborough Street
                                  Raleigh, NC 27603
          06/29/17       43       Hannah Sheridan Loughridge                      AP#17-0002-5-DMWSettlement proceeds                     1249-000                   3,000.00                                 48,980.59
                                  & Cochran, LLP
                                  P.O. Box 2395
                                  Raleigh, NC 27602
          08/16/18     001005     CLERK US BANKRUPTCY COURT                       Court Costs                                             2700-000                                          320.91            48,659.68
                                                                                  AP #17-00002-5-DMW ($350.00)
                                                                                  Pro Rate $320.91
          08/16/18     001006     JOHN T. BENJAMIN, JR., P.A.                     Cost Of Administration                                  3991-000                                       14,894.54            33,765.14
                                  1115 HILLSBOROUGH STREET                        Special Counsel Final Fees: $16,244.75
                                  RALEIGH, NC 27603                               ($14,894.54 ProRate)
          08/16/18     001007     CliftonLarsonAllenLLP                           Final Accountant's Fees                                                                                12,650.22            21,114.92
                                  P.O. Box 531878                                 Accountant's Final Fees: $13,565.00 ($12,650.22


                                                                                                                                    Page Subtotals               24,435.64               128,210.46
                                                                                                                                                                                                              Ver: 20.00j
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          USBA Form 101-7-TDR (10/1/2010) (Page: 14)
                                        Case 16-02247-5-DMW                    Doc 159 Filed 09/17/18 Entered 09/17/18 11:49:04                                       Page 15 of
                                                                                                16 2
                                                                                              FORM                                                                                                               Page:      3
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                           Exhibit 9
  Case No:            16-02247-5-DMW                                                                                                Trustee Name:                       Richard D. Sparkman
  Case Name:          SUNCOAST EQUIPMENT, LLC                                                                                       Bank Name:                          UNION BANK
                                                                                                                                    Account Number / CD #:              *******0217 TRUSTEE CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 09/17/18                                                                                                       Blanket Bond (per case limit):      $ 2,961,000.00
                                                                                                                                    Separate Bond (if applicable):


           1              2                                    3                                               4                                                  5                          6                         7
    Transaction       Check or                                                                                                             Uniform                                                               Account / CD
       Date           Reference                   Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                      Atlanta, GA 30353-1878                         ProRate)
                                                                                     Accountant's Final Expense: $231.97 ($212.69
                                                                                     ProRate)
                                                                                            Fees                   12,437.53              3410-000
                                                                                            Expenses                212.69                3420-000
          08/16/18     001008         Richard D. Sparkman                            Trustee commissions & expenses                                                                           21,114.92                         0.00
                                      Richard D. Sparkman & Associates, P.A.         Trustee Commissions: $22,591.47 ($20,713.75
                                      P. O. Box 1687                                 ProRate)
                                      ANGIER, NC 27501                               Trustee Expense: $437.54 ($401.17 ProRate)
                                                                                            Fees                   20,713.75              2100-000
                                                                                            Expenses                401.17                2200-000

                                                                                                               COLUMN TOTALS                                     170,829.32                  170,829.32                          0.00
                                                                                                                   Less: Bank Transfers/CD's                           0.00                        0.00
                                                                                                               Subtotal                                          170,829.32              170,829.32
                                                                                                                   Less: Payments to Debtors                                                   0.00
                                                                                                               Net
                                                                                                                                                                 170,829.32              170,829.32
                                                                                                                                                                                        NET                             ACCOUNT
                                                                                                              TOTAL - ALL ACCOUNTS                        NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                          TRUSTEE CHECKING - ********0217                         170,829.32                  170,829.32                          0.00
                                                                                                                                                        ------------------------    ------------------------   ------------------------
                                                                                                                                                                  170,829.32                  170,829.32                          0.00
                                                                                                                                                        ==============             ==============              ==============
                                                                                                                                                         (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                    Transfers)               To Debtors)                    On Hand




                                /s/      Richard D. Sparkman


                                                                                                                                    Page Subtotals                        0.00                   21,114.92
                                                                                                                                                                                                                           Ver: 20.00j
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          USBA Form 101-7-TDR (10/1/2010) (Page: 15)
                                    Case 16-02247-5-DMW                    Doc 159 Filed 09/17/18 Entered 09/17/18 11:49:04                            Page 16 of
                                                                                            16 2
                                                                                          FORM                                                                                           Page:    4
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit 9
  Case No:             16-02247-5-DMW                                                                                 Trustee Name:                     Richard D. Sparkman
  Case Name:           SUNCOAST EQUIPMENT, LLC                                                                        Bank Name:                        UNION BANK
                                                                                                                      Account Number / CD #:            *******0217 TRUSTEE CHECKING
  Taxpayer ID No:    XX-XXXXXXX
  For Period Ending: 09/17/18                                                                                         Blanket Bond (per case limit):    $ 2,961,000.00
                                                                                                                      Separate Bond (if applicable):


           1              2                             3                                            4                                            5                       6                  7
    Transaction       Check or                                                                                               Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

          Trustee's Signature: __________________________________ Date: 09/17/18
                                 RICHARD D. SPARKMAN




                                                                                                                      Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                 Ver: 20.00j
LFORM24
          USBA Form 101-7-TDR (10/1/2010) (Page: 16)
